Case 2:10-bk-46350-BB Doc 1-5 Filed 08/27/10 Entered 08/27/10 15:17:22   Desc
                   Master Mailing Matrix - part 5 Page 1 of 35
Case 2:10-bk-46350-BB Doc 1-5 Filed 08/27/10 Entered 08/27/10 15:17:22   Desc
                   Master Mailing Matrix - part 5 Page 2 of 35
Case 2:10-bk-46350-BB Doc 1-5 Filed 08/27/10 Entered 08/27/10 15:17:22   Desc
                   Master Mailing Matrix - part 5 Page 3 of 35
Case 2:10-bk-46350-BB Doc 1-5 Filed 08/27/10 Entered 08/27/10 15:17:22   Desc
                   Master Mailing Matrix - part 5 Page 4 of 35
Case 2:10-bk-46350-BB Doc 1-5 Filed 08/27/10 Entered 08/27/10 15:17:22   Desc
                   Master Mailing Matrix - part 5 Page 5 of 35
Case 2:10-bk-46350-BB Doc 1-5 Filed 08/27/10 Entered 08/27/10 15:17:22   Desc
                   Master Mailing Matrix - part 5 Page 6 of 35
Case 2:10-bk-46350-BB Doc 1-5 Filed 08/27/10 Entered 08/27/10 15:17:22   Desc
                   Master Mailing Matrix - part 5 Page 7 of 35
Case 2:10-bk-46350-BB Doc 1-5 Filed 08/27/10 Entered 08/27/10 15:17:22   Desc
                   Master Mailing Matrix - part 5 Page 8 of 35
Case 2:10-bk-46350-BB Doc 1-5 Filed 08/27/10 Entered 08/27/10 15:17:22   Desc
                   Master Mailing Matrix - part 5 Page 9 of 35
Case 2:10-bk-46350-BB Doc 1-5 Filed 08/27/10 Entered 08/27/10 15:17:22   Desc
                   Master Mailing Matrix - part 5 Page 10 of 35
Case 2:10-bk-46350-BB Doc 1-5 Filed 08/27/10 Entered 08/27/10 15:17:22   Desc
                   Master Mailing Matrix - part 5 Page 11 of 35
Case 2:10-bk-46350-BB Doc 1-5 Filed 08/27/10 Entered 08/27/10 15:17:22   Desc
                   Master Mailing Matrix - part 5 Page 12 of 35
Case 2:10-bk-46350-BB Doc 1-5 Filed 08/27/10 Entered 08/27/10 15:17:22   Desc
                   Master Mailing Matrix - part 5 Page 13 of 35
Case 2:10-bk-46350-BB Doc 1-5 Filed 08/27/10 Entered 08/27/10 15:17:22   Desc
                   Master Mailing Matrix - part 5 Page 14 of 35
Case 2:10-bk-46350-BB Doc 1-5 Filed 08/27/10 Entered 08/27/10 15:17:22   Desc
                   Master Mailing Matrix - part 5 Page 15 of 35
Case 2:10-bk-46350-BB Doc 1-5 Filed 08/27/10 Entered 08/27/10 15:17:22   Desc
                   Master Mailing Matrix - part 5 Page 16 of 35
Case 2:10-bk-46350-BB Doc 1-5 Filed 08/27/10 Entered 08/27/10 15:17:22   Desc
                   Master Mailing Matrix - part 5 Page 17 of 35
Case 2:10-bk-46350-BB Doc 1-5 Filed 08/27/10 Entered 08/27/10 15:17:22   Desc
                   Master Mailing Matrix - part 5 Page 18 of 35
Case 2:10-bk-46350-BB Doc 1-5 Filed 08/27/10 Entered 08/27/10 15:17:22   Desc
                   Master Mailing Matrix - part 5 Page 19 of 35
Case 2:10-bk-46350-BB Doc 1-5 Filed 08/27/10 Entered 08/27/10 15:17:22   Desc
                   Master Mailing Matrix - part 5 Page 20 of 35
Case 2:10-bk-46350-BB Doc 1-5 Filed 08/27/10 Entered 08/27/10 15:17:22   Desc
                   Master Mailing Matrix - part 5 Page 21 of 35
Case 2:10-bk-46350-BB Doc 1-5 Filed 08/27/10 Entered 08/27/10 15:17:22   Desc
                   Master Mailing Matrix - part 5 Page 22 of 35
Case 2:10-bk-46350-BB Doc 1-5 Filed 08/27/10 Entered 08/27/10 15:17:22   Desc
                   Master Mailing Matrix - part 5 Page 23 of 35
Case 2:10-bk-46350-BB Doc 1-5 Filed 08/27/10 Entered 08/27/10 15:17:22   Desc
                   Master Mailing Matrix - part 5 Page 24 of 35
Case 2:10-bk-46350-BB Doc 1-5 Filed 08/27/10 Entered 08/27/10 15:17:22   Desc
                   Master Mailing Matrix - part 5 Page 25 of 35
Case 2:10-bk-46350-BB Doc 1-5 Filed 08/27/10 Entered 08/27/10 15:17:22   Desc
                   Master Mailing Matrix - part 5 Page 26 of 35
Case 2:10-bk-46350-BB Doc 1-5 Filed 08/27/10 Entered 08/27/10 15:17:22   Desc
                   Master Mailing Matrix - part 5 Page 27 of 35
Case 2:10-bk-46350-BB Doc 1-5 Filed 08/27/10 Entered 08/27/10 15:17:22   Desc
                   Master Mailing Matrix - part 5 Page 28 of 35
Case 2:10-bk-46350-BB Doc 1-5 Filed 08/27/10 Entered 08/27/10 15:17:22   Desc
                   Master Mailing Matrix - part 5 Page 29 of 35
Case 2:10-bk-46350-BB Doc 1-5 Filed 08/27/10 Entered 08/27/10 15:17:22   Desc
                   Master Mailing Matrix - part 5 Page 30 of 35
Case 2:10-bk-46350-BB Doc 1-5 Filed 08/27/10 Entered 08/27/10 15:17:22   Desc
                   Master Mailing Matrix - part 5 Page 31 of 35
Case 2:10-bk-46350-BB Doc 1-5 Filed 08/27/10 Entered 08/27/10 15:17:22   Desc
                   Master Mailing Matrix - part 5 Page 32 of 35
Case 2:10-bk-46350-BB Doc 1-5 Filed 08/27/10 Entered 08/27/10 15:17:22   Desc
                   Master Mailing Matrix - part 5 Page 33 of 35
Case 2:10-bk-46350-BB Doc 1-5 Filed 08/27/10 Entered 08/27/10 15:17:22   Desc
                   Master Mailing Matrix - part 5 Page 34 of 35
Case 2:10-bk-46350-BB Doc 1-5 Filed 08/27/10 Entered 08/27/10 15:17:22   Desc
                   Master Mailing Matrix - part 5 Page 35 of 35
